            Case 3:19-cv-05960-JRC Document 3 Filed 10/10/19 Page 1 of 1
                                   UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
                                       OFFICE OF THE CLERK
                                            AT TACOMA



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TACOMA, WA 98402

October 10, 2019

HOFFMAN V. HEARING HELP EXPRESS INC
Case # 3:19−cv−05960−JRC

The court has received your case documents and has identified the following items to be addressed.
Please note: Any underlined points of reference below will contain a link to the source materials.

           Pro Hac Vice Admission
           It will be necessary for attorney(s) Anthony Paronich to apply for Pro Hac Vice admission in
           this case. You may review the information regarding admission and find the relevant
           documentation here. Questions about this process should be directed to the Attorney
           Admissions clerk at 206−370−8862 or dana_scarp@wawd.uscourts.gov.



Please call the Attorney Case Opening Helpdesk at 206−370−8787 if you have any additional questions.

Thank you.

cc: file
